B256 Subpoena in a Case under the Bankruptcy Code




                                               United States Bankruptcy Court
                                     EASTERN                      DISTRICT OF                  MICHIGAN



In Re:      Kevin Roland Iott and                                                 SUBPOENA IN A CASE UNDER
            Lau ra Sue Iott,                                                      THE BANKRUPTCY CODE
                                    Debtor(s).

                                                                                  Case No.        09-48174 SWR

To:         Katie Iott

                                                                                  Chapter           7



G      YOU ARE COMMANDED to appear in the United States Bankruptcy Court at the place, date, and time specified below to
testify in the above case.
  PLACE                                                                                            COURTROOM


                                                                                                   DATE AND TIME




O   YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition in the
above case.
  PLACE                                                                                            DATE AND TIME

  Office of Schneider Miller, P.C., 3900 Penobscot Building, 645 Griswold, Detroit, MI 48226       May 5, 2011 @ 1:00 p.m.




O     YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place,
date, and time specified below (list documents or objects):

            -           all records regarding all loans and loan repayments, real estate and other transactions with Kevin and/or
                        Laura Iott January 1, 2008 to date; and
            -           2007, 2008 and 2009 tax returns.

  PLACE                                                                                            DATE AND TIME

  Office of Schneider Miller, P.C., 3900 Penobscot Building, 645 Griswold, Detroit, MI 48226       May 5, 2011 @ 1:00 p.m.




G      YOU ARE COMMANDED to permit inspection of the following premises at date and time specified.
  PREMISES                                                                                         DATE AND TIME



          Any subpoenaed organization not a party to this proceeding shall designate one or more officers, directors, or managing agents, or other
persons who consent to testify on its behalf, and may set forth, for each person designated, the matters on which the person will testify, Fed. R. Civ.
P. 30(b)(6) made applicable to this proceeding by Rule 7030, Fed. R. Bankr. P. See Rules 1018 and 9014, Fed. R. Bankr. P.


  ISSUING OFFICER SIGNATURE AND TITLE                                                              DATE

      /s/ Kenneth M. Schneider        (P-31963)           Attorney for Trustee                          April 8, 2011
ISSUING OFFICER’S NAME, ADDRESS AND PHONE NUMBER

Kenneth M.09-48174-swr         DocBuilding,
          Schneider, 3900 Penobscot 59 645  Filed  04/08/11
                                               Griswold             Entered
                                                        Street, Detroit, MI 4822604/08/11    10:55:15
                                                                                 (313) 237-0850                          Page 1 of 2
B256 Subpoena in a Case under the Bankruptcy Code


________________________________________________________________________________________________________
                                           PROOF OF SERVICE

                                              DATE                  PLACE
                                                                               6200 Alcott Road, Petersberg, MI 49270
  SERVED                                      4/8/2011

  SERVED ON (PRINT NAME)                                                       MANNER OF SERVICE

  Katie Iott                                                                   First Class Mail

  SERVED BY (PRINT NAME)                                                       TITLE

  E. Joyce W hoolery                                 Legal Secre tary
                                        DECLARATION OF SERVER
________________________________________________________________________________________________________

         I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained
in the Proof of Service of Service is true and correct.

Executed on 4/8/2011                                                                            /s/ E. Joyce Whoolery
                Date                                                                           SIGNATURE OF SERVER

                                                                                                 645 Griswold Street, Suite 3900

                                                                 Detroit, MI 48226
________________________________________________________________________________________________________
Rule 45, Fed.R.Civ.P., Parts (c) & (d) made applicable in cases under the Bankruptcy Code by Rule 9016, Fed.R.Bankr.P.

(c)   PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

   (1) A party or an attorney responsible for the issuance and service                           (iii) requires disclosure of privileged or other protected
of a subpoena shall take reasonable steps to avoid imposing undue                            matter and no exception or waiver applies, or
burden or expense on a person subject to that subpoena. The court on                            (iv) subjects a person to undue burden.
behalf of which the subpoena was issued shall enforce this duty and
impose upon the party or attorney in breach of this duty an appropriate           (B) If a subpoena
sanction, which may include, but is not limited to, lost earnings and a
reasonable attorney’s fee.                                                                         (i) requires disclosure of a trade secret or other
                                                                                             confidential research, development, or commercial
  (2)(A) A person commanded to produce and permit inspection and                             information, or
copying of designated books, papers, documents or tangible things, or                             (ii) requires disclosure of an unretained expert’s opinion
inspection of premises need not appear in person at the place of                             or information not describing specific events or occurrences
production or inspection unless commanded to appear for deposition,                          in dispute and resulting from the expert’s study made not at
hearing or trial.                                                                            the request of any party, or
                                                                                                  (iii) requires a person who is not a party or an officer of
    (B) Subject to paragraph (d)(2) of this rule, a person commanded                         a party to incur substantial expense to travel more than 100
to produce and permit inspection and copying may, within 14 days after                       miles to attend trial, the court may, to protect a person
service of the subpoena or before the time specified for compliance if                       subject to or affected by the subpoena, quash or modify the
such time is less than 14 days after service, serve upon the party or                        subpoena or, if the party in whose behalf the subpoena is
attorney designated in the subpoena written objection to inspection or                       issued shows a substantial need for the testimony or
copying of any or all of the designated materials or of the premises. If                     material that cannot be otherwise met without undue
objection is made, the party serving the subpoena shall not be entitled                      hardship and assures that the person to whom the subpoena
to inspect and copy the materials or inspect the premises except                             is addressed will be reasonably compensated, the court may
pursuant to an order of the court by which the subpoena was issued.                          order appearance or production only upon specified
If objection has been made, the party serving the subpoena may, upon                         conditions.
notice to the person commanded to produce, move at any time for an
order to compel the production. Such an order to compel production                (d) DUTIES IN RESPONDING TO SUBPOENA.
shall protect any person who is not a party or an officer of a party from
significant expense resulting from the inspection and copying                       (1) A person responding to a subpoena to produce documents shall
commanded.                                                                        produce them as they are kept in the usual course of business or shall
                                                                                  organize and label them to correspond with the categories in the
  (3)(A) On timely motion, the court by which a subpoena was issued               demand.
shall quash or modify the subpoena if it
                                                                                     (2) When information subject to a subpoena is withheld on a claim
                (i) fails to allow reasonable time for compliance;                that it is privileged or subject to protection as trial preparation materials,
                (ii) requires a person who is not a party or an officer of a      the claim shall be made expressly and shall be supported by a
            party to travel to a place more than 100 miles from the place         description of the nature of the documents, communications, or things
            where that person resides, is employed or regularly                   not produced that is sufficient to enable the demanding party to contest
            transacts business in person, except that, subject to the             the claim.
            provisions of clause (c)(3)(B)(iii) of this rule, such a person
            may in order to attend trial be commanded to travel from any
              09-48174-swr Doc 59 Filed 04/08/11
            such place within the state in which the trial is held; or
                                                                               Entered 04/08/11 10:55:15                       Page 2 of 2
